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                                              KING COUNTY
 3                                       SUPERIOR COURT CLERK
                                                 E-FILED
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                                         CASE #: 22-2-10317-5 KNT
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 7                  IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON
 8
                                 IN AND FOR THE COUNTY OF KING
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     MARY JO RULFFES and DONALD                     Cause No.:
11   RULFFES, and the marital community
     comprised thereof,                             COMPLAINT FOR PERSONAL INJURIES
12
                                                    AND DAMAGES
13                         Plaintiffs,
14
            v.
15
     MACY’S WEST STORES, LLC, a foreign
16   corporation d/b/a MACY’S; MACY’S
     RETAIL HOLDINGS, LLC, a foreign
17
     corporation d/b/a MACY’S; and MACY’S
18   CORPORATE SERVICES, a foreign
     corporation d/b/a MACY’S; SCHINDLER
19   ELEVATOR CORPORATION, a foreign
20
     corporation; and UNKNOWN BUSINESS
     ENTITIES 1-5; and JOHN DOES 1-5.
21
                           Defendants.
22

23

24          COME NOW Plaintiffs Mary Jo Rulffes and Donald Rulffes, by and through their
25
     attorneys of record, A. Troy Hunter and Lisa K. Wiese of Injury Law Group NW, and do hereby
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     allege and claim against the above-named Defendants the following:
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                                            I.      PARTIES
28

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 1          1.1     At all times material hereto, Plaintiffs Mary Jo Rulffes and Donald Rulffes are and
 2
     were a married couple residing in King County, Washington.
 3
            1.2     Upon information and belief, and at all times material hereto, Macy’s West Stores,
 4

 5
     LLC, Macy’s Retail Holdings, LLC, and Macy’s Corporate Services, LLC are all foreign

 6   corporations doing business for profit as “Macy’s” within King County in the State of Washington.
 7   These Macy’s defendants (hereinafter “Macy’s”) were doing business as sellers of retail goods at
 8
     the time of the Incident described herein. All acts and omissions hereinafter alleged were done for
 9
     and on behalf of these Macy’s defendants for which they are individually and severally liable.
10

11          1.3     Upon information and belief, and at all times material hereto, Schindler Elevator

12   Corporation (hereinafter “Schindler”) is a foreign profit corporation authorized to do business
13
     within King County in the State of Washington. Schindler serviced and maintained the elevators
14
     located at the Premises where the Incident occurred.
15
            1.4     At all times material hereto, Unknown Business Entities 1-5 are as of yet
16

17   unidentified entities who may have had duties and obligations to Plaintiff Mary Jo Rulffes
18   regarding her safety and protection from hazardous conditions, namely a malfunctioning elevator
19
     resulting in a dangerously offset floor upon which Plaintiff fell and was injured. To the extent this
20
     information is later discovered by Plaintiffs, this Complaint will be amended to so reflect.
21

22          1.5     At all times material hereto, John Does 1-5 are as of yet unidentified individuals

23   who may have had duties and obligations to Plaintiff Mary Jo Rulffes regarding her safety and
24
     protection from hazardous conditions, namely a malfunctioning elevator resulting in a dangerously
25
     offset floor upon which Plaintiff fell and was injured. To the extent this information is later
26
     discovered by Plaintiffs, this Complaint will be amended to so reflect.
27

28                                II.    JURISDICTION AND VENUE

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 1           2.1     Jurisdiction is proper in the Superior Court for the State of Washington under RCW
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     2.08.010.
 3
             2.2     Venue is appropriate in King County Superior Court under RCW 4.12.020(3), as
 4

 5
     the events giving rise to this cause of action occurred in Tukwila, King County, Washington and

 6   under RCW 4.12.025(1).
 7                                              III.   FACTS
 8
             3.1     On December 9, 2019, Plaintiff Mary Jo Rulffes stood waiting for an elevator to
 9
     arrive at her floor at the Southcenter Macy’s store located in Tukwila, Washington (“the
10

11   Premises”). When it arrived, the doors opened and Plaintiff proceeded to walk in.

12           3.2     Unfortunately, the floor of the stopped elevator did not line up evenly with the store
13
     floor, having stopped several inches above the store floor level.
14
             3.3     As Plaintiff proceeded to enter the elevator, her toe caught the uneven elevator floor
15
     and she fell face-first slamming her face against the back wall of the elevator and losing
16

17   consciousness. (Hereinafter, these facts are referred to as “the “Incident.”)
18           3.4     As a direct and proximate result of Defendants’ combined negligence, Plaintiff
19
     Mary Jo Rulffes suffered serious personal injuries and associated losses, including general and
20
     special damages, the amounts of which are not yet known, but will be provided to and determined
21

22   by a finder of fact.

23                            IV.    CAUSE OF ACTION – NEGLIGENCE
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             4.1     Paragraphs 1.1 – 3.4 are realleged and incorporated herein.
25
             4.2     Plaintiff Mary Jo Rulffes was a business invitee at the Premises on December 9,
26
     2019.
27

28           4.3     Macy’s was a common carrier and therefore had a duty to exercise the highest

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 1   degree of care consistent with the practical operation of elevators on its’ Premises. Macy’s further
 2
     had a nondelegable duty to maintain elevators on the Premises in proper working order. Macy’s
 3
     negligently failed to exercise the required degree of care, thereby causing Plaintiffs’ injuries.
 4

 5
             4.4      Macy’s owed a duty to Plaintiff Mary Jo Rulffes to maintain its’ elevators at the

 6   Premises in such a way so as not to create and/or allow a dangerous and/or hazardous condition
 7   to exist, but to keep them in reasonably safe condition. Macy’s breached said duty by creating
 8
     and/or allowing uneven elevator leveling to exist while it being reasonably foreseeable that
 9
     individuals such as Plaintiff Mary Jo Rulffes might trip and fall as they entered the unlevel
10

11   elevator at the Premises, thereby constituting negligence. Macy’s either created this unsafe

12   condition or, alternatively, had actual or constructive knowledge of the dangerous condition for
13
     such length of time that Macy’s should have repaired said condition and/or warned the public of
14
     its existence.
15
             4.5      Defendant Schindler was under contract with Macy’s to maintain and service the
16

17   elevator which caused Plaintiffs’ injuries. Schindler owed Plaintiffs a duty to exercise reasonable
18   care regarding said maintenance and service. Schindler failed to exercise reasonable care in
19
     maintaining and servicing the elevator, thereby causing it to malfunction and result in Plaintiff
20
     Mary Jo Rulffes’ fall and injuries.
21

22           4.6      At all times relevant, Plaintiff Mary Jo Rulffes’ actions were reasonable. She is not

23   comparatively at fault or contributorily negligent for her fall resulting in injuries and damages. As
24
     a result, the Defendants are jointly and severally liable for the totality of Plaintiffs’ injuries and
25
     damages.
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             4.7      As a direct and proximate result of Defendants’ combined negligence, Plaintiffs
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28   have sustained severe injuries, the exact nature and extent of which are not presently known but

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 1   which include injuries to the body, pain, mental anguish and suffering, emotional distress,
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     psychological injuries, loss of consortium and other damages, in an amount that will be proven at
 3
     trial. As a further direct and proximate result of the collision, Plaintiffs have incurred reasonable
 4

 5
     and necessary expenses for health care and treatment, and will in the future incur additional such

 6   expenses, property damage, out of pocket expenses, and significant wage loss which is
 7   continuing, the exact amount of which is now unknown but which will be proven at trial. The
 8
     injuries and damages sustained by Plaintiffs were the direct and proximate result of the
 9
     negligence of Defendants. For all such injuries and damages, Plaintiffs are entitled to recover the
10

11   same, in an amount to be proven at trial.

12          4.8      As a further direct and proximate result of the collision caused by the negligence
13
     of Defendants, Plaintiff Donald Rulffes has suffered loss of consortium with his wife, Plaintiff
14
     Mary Jo Rulffes, and loss of spousal services, for which he is entitled to recover damages in an
15
     amount to be proven at trial.
16

17                                    V.      PRAYER FOR RELIEF
18          WHEREFORE, Plaintiffs Mary Jo and Donald Rulffes pray for judgment against
19
     Defendants as follows:
20
            a.       For special damages in an amount to be proven at the time of trial;
21

22          b.       For general damages in an amount to be proven at the time of trial;

23          c.       For costs and disbursements, including reasonable attorneys’ fees and costs
24
     incurred in bring this action, that may be allowed by any rule or statute;
25
            d.       For pre-judgment interest on special damages; and
26
            e.       For such other and further relief as this Court deems just and equitable.
27

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 1        DATED this 1st day of July, 2022.
 2
                                      INJURY LAW GROUP NW
 3

 4

 5
                                      A. Troy Hunter, WSBA No. 29243
 6                                    Lisa Kay Wiese, WSBA No. 26594
                                      Attorneys for Plaintiffs,
 7                                    Mary Jo Rulffes and Donald Rulffes
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